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 1     CENTER FOR DISABILITY ACCESS
       Raymond Ballister Jr., Esq., SBN 111282
 2     Russell Handy, Esq., SBN 195058
       Dennis Price, Esq., SBN 279082
 3     Amanda Seabock, Esq., SBN 289900
       Mail: 8033 Linda Vista Road, Suite 200
 4     San Diego, CA 92111
       (858) 375-7385; (888) 422-5191 fax
 5     amandas@potterhandy.com
 6     Attorneys for Plaintiff
 7
 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Orlando Garcia                           Case No.

12               Plaintiff,
                                                Complaint For Damages And
13        v.                                    Injunctive Relief For Violations
                                                Of: Americans With Disabilities
14     EB Foods HP Corporation, a               Act; Unruh Civil Rights Act
       California Corporation;
15     EB HP LLC, a California Limited
       Liability Company
16
                 Defendants.
17
18
             Plaintiff Orlando Garcia complains of EB Foods HP Corporation, a
19
     California Corporation; EB HP LLC, a California Limited Liability Company;
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     and alleges as follows:
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        PARTIES:
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        1. Plaintiff is a California resident with physical disabilities. He suffers
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     from Cerebral Palsy. He has manual dexterity issues. He uses a wheelchair for
25
     mobility.
26
        2. Defendant EB Foods HP Corporation owned the real property located
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     at or about 3053 E Florence Ave, Huntington Park, California, in December
28
     2020.


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 1      3. Defendant EB Foods HP Corporation owns the real property located at
 2   or about 3053 E Florence Ave, Huntington Park, California, currently.
 3      4. Defendant EB HP LLC owned Tacos Don Chente located at or about
 4   3053 E Florence Ave, Huntington Park, California, in December 2020.
 5      5. Defendant EB HP LLC owns Tacos Don Chente (“Restaurant”) located
 6   at or about 3053 E Florence Ave, Huntington Park, California, currently.
 7      6. Plaintiff does not know the true names of Defendants, their business
 8   capacities, their ownership connection to the property and business, or their
 9   relative responsibilities in causing the access violations herein complained of,
10   and alleges a joint venture and common enterprise by all such Defendants.
11   Plaintiff is informed and believes that each of the Defendants herein is
12   responsible in some capacity for the events herein alleged, or is a necessary
13   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
14   the true names, capacities, connections, and responsibilities of the Defendants
15   are ascertained.
16
17      JURISDICTION & VENUE:
18      7. The Court has subject matter jurisdiction over the action pursuant to 28
19   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
20   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
21      8. Pursuant to supplemental jurisdiction, an attendant and related cause
22   of action, arising from the same nucleus of operative facts and arising out of
23   the same transactions, is also brought under California’s Unruh Civil Rights
24   Act, which act expressly incorporates the Americans with Disabilities Act.
25      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
26   founded on the fact that the real property which is the subject of this action is
27   located in this district and that Plaintiff's cause of action arose in this district.
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 1      FACTUAL ALLEGATIONS:
 2      10. Plaintiff went to the Restaurant in December 2020 with the intention to
 3   avail himself of its goods and to assess the business for compliance with the
 4   disability access laws.
 5      11. The Restaurant is a facility open to the public, a place of public
 6   accommodation, and a business establishment.
 7      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 8   to provide wheelchair accessible parking in conformance with the ADA
 9   Standards as it relates to wheelchair users like the plaintiff.
10      13. The Restaurant provides parking to its customers but fails to provide
11   wheelchair accessible parking.
12      14. One problem that plaintiff encountered is that the parking stall marked
13   and reserved for persons with disabilities was being used for outdoor dining.
14      15. Plaintiff believes that there are other features of the parking that likely
15   fail to comply with the ADA Standards and seeks to have fully compliant
16   parking for wheelchair users.
17      16. On information and belief, the defendants currently fail to provide
18   wheelchair accessible parking.
19      17. These barriers relate to and impact the plaintiff’s disability. Plaintiff
20   personally encountered these barriers.
21      18. As a wheelchair user, the plaintiff benefits from and is entitled to use
22   wheelchair accessible facilities. By failing to provide accessible facilities, the
23   defendants denied the plaintiff full and equal access.
24      19. The failure to provide accessible facilities created difficulty and
25   discomfort for the Plaintiff.
26      20. Even though the plaintiff did not confront the following barriers, the
27   paths of travel at the east entrance did not have a level landing. Additionally,
28   the threshold at the south entrance requires a wheelchair user to navigate a


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 1   small lip that is about an inch and a half in height. Moreover, the sales and
 2   service counters are too high. There is no counter that is 36 inches or less that
 3   a wheelchair user could use for transactions. Plaintiff seeks to have these
 4   barriers removed as they relate to and impact his disability.
 5      21. The defendants have failed to maintain in working and useable
 6   conditions those features required to provide ready access to persons with
 7   disabilities.
 8      22. The barriers identified above are easily removed without much
 9   difficulty or expense. They are the types of barriers identified by the
10   Department of Justice as presumably readily achievable to remove and, in fact,
11   these barriers are readily achievable to remove. Moreover, there are numerous
12   alternative accommodations that could be made to provide a greater level of
13   access if complete removal were not achievable.
14      23. Plaintiff will return to the Restaurant to avail himself of its goods and to
15   determine compliance with the disability access laws once it is represented to
16   him that the Restaurant and its facilities are accessible. Plaintiff is currently
17   deterred from doing so because of his knowledge of the existing barriers and
18   his uncertainty about the existence of yet other barriers on the site. If the
19   barriers are not removed, the plaintiff will face unlawful and discriminatory
20   barriers again.
21      24. Given the obvious and blatant nature of the barriers and violations
22   alleged herein, the plaintiff alleges, on information and belief, that there are
23   other violations and barriers on the site that relate to his disability. Plaintiff will
24   amend the complaint, to provide proper notice regarding the scope of this
25   lawsuit, once he conducts a site inspection. However, please be on notice that
26   the plaintiff seeks to have all barriers related to his disability remedied. See
27   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
28   encounters one barrier at a site, he can sue to have all barriers that relate to his


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 1   disability removed regardless of whether he personally encountered them).
 2
 3   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 4   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 5   Defendants.) (42 U.S.C. section 12101, et seq.)
 6      25. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 7   again herein, the allegations contained in all prior paragraphs of this
 8   complaint.
 9      26. Under the ADA, it is an act of discrimination to fail to ensure that the
10   privileges, advantages, accommodations, facilities, goods and services of any
11   place of public accommodation is offered on a full and equal basis by anyone
12   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
13   § 12182(a). Discrimination is defined, inter alia, as follows:
14            a. A failure to make reasonable modifications in policies, practices,
15                or procedures, when such modifications are necessary to afford
16                goods,    services,    facilities,   privileges,    advantages,   or
17                accommodations to individuals with disabilities, unless the
18                accommodation would work a fundamental alteration of those
19                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
20            b. A failure to remove architectural barriers where such removal is
21                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
22                defined by reference to the ADA Standards.
23            c. A failure to make alterations in such a manner that, to the
24                maximum extent feasible, the altered portions of the facility are
25                readily accessible to and usable by individuals with disabilities,
26                including individuals who use wheelchairs or to ensure that, to the
27                maximum extent feasible, the path of travel to the altered area and
28                the bathrooms, telephones, and drinking fountains serving the


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 1                altered area, are readily accessible to and usable by individuals
 2                with disabilities. 42 U.S.C. § 12183(a)(2).
 3      27. When a business provides parking for its customers, it must provide
 4   accessible parking.
 5      28. Here, accessible parking has not been provided in conformance with the
 6   ADA Standards.
 7      29. When a business provides paths of travel for its customers, it must
 8   provide accessible paths of travel.
 9      30. Here, accessible paths of travel have not been provided in conformance
10   with the ADA Standards.
11      31. When a business provides facilities such as sales or transaction and
12   service counters, it must provide accessible sales or transaction and service
13   counters.
14      32. Here, accessible sales or transaction and service counters have not been
15   provided in conformance with the ADA Standards.
16      33. The Safe Harbor provisions of the 2010 Standards are not applicable
17   here because the conditions challenged in this lawsuit do not comply with the
18   1991 Standards.
19      34. A public accommodation must maintain in operable working condition
20   those features of its facilities and equipment that are required to be readily
21   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
22      35. Here, the failure to ensure that the accessible facilities were available
23   and ready to be used by the plaintiff is a violation of the law.
24
25   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
26   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
27   Code § 51-53.)
28      36. Plaintiff repleads and incorporates by reference, as if fully set forth


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 1   again herein, the allegations contained in all prior paragraphs of this
 2   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 3   that persons with disabilities are entitled to full and equal accommodations,
 4   advantages, facilities, privileges, or services in all business establishment of
 5   every kind whatsoever within the jurisdiction of the State of California. Cal.
 6   Civ. Code §51(b).
 7      37. The Unruh Act provides that a violation of the ADA is a violation of the
 8   Unruh Act. Cal. Civ. Code, § 51(f).
 9      38. Defendants’ acts and omissions, as herein alleged, have violated the
10   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
11   rights to full and equal use of the accommodations, advantages, facilities,
12   privileges, or services offered.
13      39. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
14   discomfort or embarrassment for the plaintiff, the defendants are also each
15   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
16   (c).
17
18            PRAYER:
19            Wherefore, Plaintiff prays that this Court award damages and provide
20   relief as follows:
21          1. For injunctive relief, compelling Defendants to comply with the
22   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
23   plaintiff is not invoking section 55 of the California Civil Code and is not
24   seeking injunctive relief under the Disabled Persons Act at all.
25          2. Damages under the Unruh Civil Rights Act, which provides for actual
26   damages and a statutory minimum of $4,000 for each offense.
27          3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
28   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.


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 1   Dated: January 22, 2021      CENTER FOR DISABILITY ACCESS
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 4                                By: _______________________
 5                                      Russell Handy, Esq.
                                        Attorney for plaintiff
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